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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA


JUDICIAL WATCH, INC.,         )
                              )
                   Plaintiff, )
                              )
             v.               )           Civil Action No: 1:10-cv-01834 (PLF)
                              )
NATIONAL ARCHIVES AND         )
RECORDS ADMINISTRATION,       )
                              )
                   Defendant. )
                              )


                           [PROPOSED] ORDER

      Upon consideration of Defendant’s motion to dismiss, and any response and

reply thereto, it is hereby ORDERED that Defendant’s motion is GRANTED and that

the action is dismissed.




Dated: ________________________           ____________________________________

                                          PAUL L. FRIEDMAN
                                          United States District Judge
